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                                                                                     FILED

SEALED
                                                                              February 19, 2025

                                                                            CLERK, U.S. DISTRICT COURT
                                                                            WESTERN DISTRICT OF TEXAS
                                                                               By:      RR
                                                                                              Deputy Clerk
                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

                                                             Case No: SA:25-CR-00063-OLG
UNITED STATES OF AMERICA

       Plaintiff

               v

ANGEL ISAIAH HERRERA

       Defendant



                   GOVERNMENT'S MOTION TO SEAL INDICTMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and files this its Motion to Seal the Indictment in this cause, and

would show the Court as follows:

                                                I.

       On this date the United States has submitted to the Grand Jury a proposed indictment

naming the Defendant in this cause, and the Grand Jury has returned a True Bill of Indictment.

Because the Defendant has not been arrested and is not otherwise in custody, premature disclosure

of this Indictment in the public record may afford the Defendant an opportunity to avoid

apprehension. Such disclosure may additionally disrupt an on-going criminal investigation.
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        Accordingly, the United States respectfully requests that this Court order that the

indictment, warrant for defendant's arrest, and documents relating to this indictment remain

sealed; provided, however, that a redacted copy of the indictment shall be delivered to the

defendant at the time of said defendant's initial appearance (conducted pursuant to Rule 5,

Fed.R.Crim.P.), or arraignment (conducted pursuant to Rule 10, Fed.R.Crim.P.), whichever is

applicable.

       The United States further respectfully requests that this motion and the Court's order

remain under seal.

                                                  Respectfully submitted,

                                                  MARGARET F. LEACHMAN
                                                  Acting United States Attorney



                                          By:     ___/s/____________________________
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